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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
      Plaintiff,                          )
                                          )
      v.                                  )         Case No. 4:16 CV 180 CDP
                                          )
THE CITY OF FERGUSON,                     )
                                          )
      Defendant.                          )
                                          )

      MEMORANDUM AND ORDER SETTING STATUS HEARING

      IT IS HEREBY ORDERED that there will be a quarterly status hearing on

Tuesday, February 4, 2025 at 10:00 a.m. in Courtroom 14-South to provide the

parties and the Monitor with an opportunity to update the Court on the status of

implementation of the Consent Decree.

      Members of the public, in addition to the Monitor and counsel for the

parties, will be allowed to speak at the hearing as set out below. In addition, the

public will be able to listen to the hearing on the court’s YouTube channel.

Members of the public may access the court’s YouTube channel at

https://www.youtube.com/c/USCourtsMOED. Pursuant to E.D. Mo. L.R. 13.02,

all means of photographing, recording, broadcasting, and televising this hearing are
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prohibited. Accordingly, audio of the proceeding, in full or in part, may not be

photographed, recorded, broadcasted, or televised.

      IT IS FURTHER ORDERED that any members of the public who wish to

speak at the hearing may do so by appearing at the courtroom between 9:30 and

9:50 a.m. on the day of the hearing to register. Statements by members of the

public will be taken in the order the person signed up and will be limited to five

minutes each. All persons speaking must speak from the lectern, state their names,

and direct their comments to the Court.

      IT IS FURTHER ORDERED that any members of the public who wish

to listen to the hearing may do so on the court’s YouTube channel, accessible at

https://www.youtube.com/c/USCourtsMOED. Pursuant to E.D. Mo. L.R. 13.02,

all means of photographing, recording, broadcasting, and televising are prohibited.

Audio of the proceeding, in full or in part, may not be photographed, recorded,

broadcasted, or televised.



                                       _______________________________
                                       CATHERINE D. PERRY
                                       UNITED STATES DISTRICT JUDGE
Dated this 3rd day of December, 2024.




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